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                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

                                                                )
DS SERVICES OF AMERICA, INC.,                                   )
DBA PRIMO WATER NORTH AMERICA, INC.,                            )
                                                                )
                            Plaintiff,                          )
                                                                )
                                                                )
                                                                )
                                                                )
            v.                                                  )       Court No. 22-157
                                                                )
THE UNITED STATES,                                              )
OFFICE OF THE UNITED STATES                                     )
TRADE REPRESENTATIVE;                                           )
KATHERINE TAI, U.S. TRADE REPRESENTATIVE;                       )
U.S. CUSTOMS & BORDER PROTECTION;                               )
CHRIS MAGNUS, U.S. CUSTOMS & BORDER                             )
PROTECTION COMMISSIONER,                                        )
                                                                )
                            Defendants.                         )
                                                                )
                                                                )

                                               ORDER

        Upon consideration of defendants’ unopposed motion for voluntary remand for

reconsideration of the decision at issue in this case, it is hereby

        ORDERED that defendants’ motion is granted, and that this matter is remanded to the

Office of the United States Trade Representative (USTR) for reconsideration of the final

decision not to reinstate the exclusion at issue in this case; and it is further

        ORDERED that the USTR shall have 90 days from the date of this order to file remand

results with the Court; and it is further
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       ORDERED the parties shall file a joint status report stating how the parties believe this

matter should proceed, and, if necessary, a proposed scheduling order (including for filing the

administrative record), no later than 14 days after USTR files the remand results.



                                                     /S/       Mark A. Barnett
                                                     _______________________________
                                                               CHIEF JUDGE

Dated: September 1 , 2022
       New York, NY
